    Case: 1:23-cv-01793 Document #: 32 Filed: 10/13/23 Page 1 of 4 PageID #:221




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TAMIKA DALTON,                                )
                                              )
               Plaintiff,                     )      Case No. 1:23-cv-01793
                                              )
       v.                                     )      Honorable Judge Nancy L. Maldonado
                                              )
SWEET HONEY TEA, INC., and                    )      Magistrate Judge Jeffery Cummings
DARRELL DESHAZER,                             )
                                              )
               Defendants.                    )

                DEFENDANTS’ JOINT RESPONSE TO PLAINTIFF’S
              MOTION TO STRIKE DEFEDANTS’ AFFIDAVIT OFFERED
               IN CONNECTION WITH THEIR MOTION TO DISMISS

       NOW COME Defendants, SWEET HONEY TEA, INC. (“Sweet Honey”) and DARRELL

DESHAZER (“DeShazer”), by and through their attorneys, OTUBUSIN & OTUBUSIN, in

response to Plaintiff’s Motion to Strike Defendants’ Affidavit Offered in Connection with Thier

[sic] Motion to Dismiss (“Plaintiff’s Motion to Strike”) [Dkt. No. 30], state as follows:

       Plaintiff’s Motion to Strike inaccurately depicts Defendants’ Motion to Dismiss Plaintiff’s

First Amended Complaint (“Defendants’ Motion to Dismiss”) [Dkt. No. 25] as only a Motion to

Dismiss for failure to state a claim upon which relief can be pursuant to Fed. R. Civ. P. 12(b)(6).

However, Plaintiff’s Motion to Strike conveniently fails to mention that Defendants’ Motion to

Dismiss also argues lack of jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).

       In reviewing a Rule 12(b)(1) motion, the court may look beyond the complaint to other

evidence submitted by the parties to determine whether subject matter jurisdiction exists. See

United Transp. Union v. Gateway W. Ry. Co., 78 F.3d 1208, 1210 (7th Cir. 1996) (“Evidentiary

materials are properly considered at dismissal stage when question raised is one of subject matter

jurisdiction.”); Capitol Leasing Co. v. FDIC, 999 F.2d 188, 191 (7th Cir. 1993) (“The district court
     Case: 1:23-cv-01793 Document #: 32 Filed: 10/13/23 Page 2 of 4 PageID #:222




may properly look beyond the jurisdictional allegations of the complaint and view whatever

evidence has been submitted on the issue to determine whether in fact subject matter jurisdiction

exists.” (internal quotation omitted)); Bowyer v. U.S. Dept. of Air Force, 875 F.2d 632, 635 (7th

Cir.1989) (“District courts properly may look beyond the complaint's jurisdictional allegations and

view whatever evidence has been submitted to determine whether in fact subject matter jurisdiction

exists.”); Mortensen v. First Federal Sav. and Loan Ass'n, 549 F.2d 884, 891 (3rd Cir. 1977).

(“Because at issue in a factual 12(b)(1) motion is the trial court's jurisdiction — its very power to

hear the case — there is substantial authority that the trial court is free to weigh the evidence and

satisfy itself as to the existence of its power to hear the case.”)

        In her First Amended Complaint [Dkt. No. 17], Plaintiff asserts false allegations for the

sole purpose of misleading this Court into concluding it has jurisdiction. For this Court to have

subject matter jurisdiction, Defendant must have “fifteen or more employees for each working day”

42 U.S.C. § 2000e(b) (emphasis added). Plaintiff Complaint asserts “For the purposes of

establishing the required number of employees, Defendant operates multiple Sweet Honey Tea

locations, which in total has more than 15 employees.” [Dkt. No. 17 at ¶16] (emphasis added).

        Plaintiff cannot “for the purposes of establishing the required number of employees” allege

Defendants operate multiple Sweet Honey Tea locations in order to meet the jurisdictional

requirement when Plaintiff knows that this statement is absolutely false. Defendants have never

operated more than one (1) Sweet Honey Tea location. Further, Defendants have never employed

the necessary number of employees to meet the jurisdictional minimum requirement.

        The Court is “not bound to accept as true the allegations of the complaint which tend to

establish jurisdiction where a party properly raises a factual question concerning the jurisdiction

of the district court to proceed with the action.” Grafon Corp. v. Hausermann, 602 F.2d 781, 783



                                              Page 2 of 4
    Case: 1:23-cv-01793 Document #: 32 Filed: 10/13/23 Page 3 of 4 PageID #:223




(7th Cir. 1979). In cases where the jurisdiction of the court is challenged as a factual matter, the

party invoking jurisdiction has the burden of supporting the allegations of jurisdictional facts by

competent proof. McNutt v. General Motors Acceptance Corp., 298 U.S. 178, 189 (1936);

Thomson v. Gaskill, 315 U.S. 442, 446 (1942); Land v. Dollar, 330 U.S. 731, 735 (1947).

       It is Plaintiff’s burden to support her allegation that this Court has jurisdiction and that

“Defendant operates multiple Sweet Honey Tea locations, which in total has more than 15

employees” by competent proof. Accordingly, Defendants properly submitted evidence [Dkt. No.

25-1] for this Court to consider with their Motion to Dismiss to prove that subject matter

jurisdiction does not exist pursuant to Fed. R. Civ. P. 12(b)(1).

       WHEREFORE, for the reasons stated above, Defendants, Sweet Honey Tea, Inc. and

Darrell DeShazer, request that this Honorable Court deny Plaintiff’s Motion to Strike Defendants’

Affidavit Offered in Connection with Thier [sic] Motion to Dismiss and for any further relief that

this Court deems just and proper.

                                                      Respectfully submitted,

                                                      SWEET HONEY TEA, INC. and
                                                      DARRELL DESHAZER



                                                      By:           /s/ Cozette A. Otubusin        .
                                                                    One of Their Attorneys

Date: October 13, 2023                                Cozette A. Otubusin, Esq.
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                                            Page 3 of 4
    Case: 1:23-cv-01793 Document #: 32 Filed: 10/13/23 Page 4 of 4 PageID #:224




                                CERTIFICATE OF SERVICE

        I, Carmen A. Otubusin, a paralegal, certify under penalties of perjury as provided by law
pursuant to Rules 5(b) and (e) of the Federal Rules of Civil Procedure, that on October 13, 2023,
the foregoing Defendants’ Joint Response to Plaintiff’s Motion to Strike Defendants’ Affidavit
Offered in Connection with their Motion to Dismiss was electronically filed with the Clerk of the
United States District Court for the Northern District of Illinois, using the Court’s ECM/CF
Electronic Filing System, reflecting service upon all parties of record.

                                                    Respectfully submitted,

                                                    SWEET HONEY TEA, INC. and
                                                    DARRELL DESHAZER



                                                    By:        /s/ Carmen A. Otubusin           .
                                                                 Carmen A. Otubusin

Date: October 13, 2023                              Cozette A. Otubusin, Esq.
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                                          Page 4 of 4
